Case 1: 04- -C\/- -01154- .]DT- STA Document 126 Filed 08/12/05 Page 1 of 5 Page|D 102

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION

RBP, LLC, )

Plaintiff, §
vs. § No. 04-]154 T/An
GENUINE PARTS CO. and INDIANA §
INSURANCE CO., )

Defendants. §
GENUINE PARTS CO.,

Third-Party Plaintiff,
vs.

ALLIANZ GLOBAL RISK U.S.
INSURANCE CO. and LEXINGTON
INSURANCE CO.,

\./\_/V'\_/\./\-¢\_/\_¢W\_d'\_#

Third~Party Defendants.

 

ORDER GRANTING PLAINTIFF’S TH]RD MOTION TO AMEND

 

Before the Court is Plaintiff RBP, LLC’s (“RBP”) Third Motion to Amend fi led on May
26, 2005. The Undersigned previously entered an Order Granting Plaintiff’s Third Motion to
Amend on J unc 22, 2005 , but the parties requested that the Court set aside the June 22, 2005
Order and rule on the motion considering a response filed by Allianz Global Risk U.S. lnsurance

Company and Lexington lnsurance Company (“the Third-Party Defendatnts”).l The Court held a

 

lOn July 13, 2005, United States District Judge James D. Todd entered an Order Granting the Motion to Set
Aside the Court’s previous Order.

This document entered on the docket sheet In compliance
with Rule 58 and,'or_'fQ (a) FRCP on 0 5

Case 1:O4-cv-01154-.]DT-STA Document 126 Filed 08/12/05 Page 2 of 5 Page|D 103

hearing on this matter on July 25, 2005. F or the reasons set forth below, the Motion is
GRANTED.

BACKGROUND

 

Plaintiff currently seeks leave of court to amend its Complaint to add Count IV, which
alleges that Plaintiff was a third party beneficiary under the policies issued by the Third~Party
Defendants to Defendant Genuine Parts Compariy. Plaintiff has previously amended its
Complaint on two separate occasions, and P]aintiff requests that the Court permit it to amend its
Complaint because it has obtained new information during discovery. Plaintiff argues that
neither the Defendants or the Third-Party Defendants will be prejudiced by allowing the
amendment The Third-Party Defendants filed a Response With the Court on July 22, 2005. In
their Response, they argue that RBP failed to diligently move to amend its Complaint because the
instant Motion was filed more than a month after April 4, 2005, the deadline established in the
Court’s Rule l6(b) Scheduling Order for amending pleadings

ANALYSIS

A pleading may be amended “only by leave of court . . . and leave shall be freely given
when justice so requires.” Fed. R. Civ. P. l$(a) (emphasis added). “In deciding whether to allow
an amendment, the court should consider the delay in filing, the lack of notice to the opposing
party, bad faith by the moving party, repeated failure to cure deficiencies by previous
amendments, undue prejudice to the opposing party, and futility of amendment.” Per'kz'ns v. Am.
Efec. Power Fuef Supply, fric., 246 F.3d 593, 605 (6th Cir. 2001). After review, the Court

concludes that Plaintiff should be entitled to amend its Complaint.

Case 1:04-cv-01154-.]DT-STA Document 126 Filed 08/12/05 Page 3 of 5 Page|D 104

As established by the F ederal Rules of Civil Procedure, courts should freely permit
parties to amend their pleadings unless doing so would be futile or prejudicial to the opposing
parties or unless the request is made iii bad faith. The Third-Party Defendants cannot show that
Plaintiff is acting in bad faith, and the Court has no reason to believe the proposed amendment
would be futile. Additionally, the proposed amendment will not be prejudicial to tlie Third~Party
Defendants. While the instant motion may have been filed a month following the deadline for
Plaintiff to amend its pleadings, the Third-Party Defendants are currently requesting that the
Court continue the trial date set in this matter and extend other deadlines in the Scheduling
Order.2 The Court will enter a separate Order granting the Third-Party Defendants’ request to
modify the Scheduling Order; therefore, because the parties will have additional time before the
trial occurs, it is unlikely that the Third-Party Defendants will be prejudiced by Plaintiff being
allowed to amend its Complaint.

Therefore, for good cause shown and because motions to amend should be freely granted,
the instant motion is GRANTED. Plaintiff shall file its amended Complaint with the Court
within l l days of entry of this Order.

I'I` IS SO ORDERED.

<g./F/;MA¢ @w-)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: ZOC¢»:JL /02; 20&.\/

 

2Ffhe Motion to Modif`y the Court’s lo(b) Order is found at docket entry number l l l.

3

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 126 in
case 1:04-CV-01154 was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

ésSEE

 

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Henry R. Daar

DAAR & VENEK, P.C.

225 West Washington St., 18th Floor
Chicago, IL 60606

Brian T. Moore

DREW ECKL & FARNHAM
880 W. Peachtree St.

P.O. Box 7600

Atlanta, GA 303 57

Russell E. Reviere

RAINEY KIZER REVIERE & BELL
209 E. Main Street

Jackson, TN 38302--114

Albert B. Merkel
h/[ERKEL & TABOR
203 S. Shannon
Jackson, TN 38302--287

Robert L. Green

NEELY GREEN FARGARSON BROOKE & SUh/[MERS
65 Union Ave.

Ste. 900

1\/1emphis7 TN 38103--054

Gilbert Michael Malm
Budd Larner

127 Peachtree Street, NE
Ste 636

Atlanta, GA 30303

Case 1:04-cv-01154-.]DT-STA Document 126 Filed 08/12/05 Page 5 of 5 Page|D 106

Robert W. Fisher

ROBINS KAPLAN MILLER & CIRESI-Atlanta
2600 One Atlanta Plaza

950 East Paces Ferry Rd., NE

Atlanta, GA 30326--138

Heidi H. Raschke

ROBINS KAPLAN MILLER & CIRESI-Atlanta
2600 One Atlanta Plaza

950 East Paces Rerry Rd., NE

Atlanta, GA 30326--138

Loys A. Jordan
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/1emphis7 TN 38103

Clayton H. Farnham

DREW ECKL & FARNHAM
P.O. Box 7600

Atlanta, GA 303 57

Thomas A. Vickers
225 W. Washington
18th Floor

Chicago, IL 60606

Honorable J ames Todd
US DISTRICT COURT

